Case 3:11-cr-02183-AJB        Document 61        Filed 10/18/12        PageID.148     Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                                    CASE NO. 11CR2183-CAB
12                                          Plaintiff,             JUDGMENT AND ORDER OF
             vs.                                                   DISMISSAL OF INFORMATION
13
      NICOLE GALVAN (2),
14
                                          Defendant.
15
16          Upon motion of the UNITED STATES OF AMERICA and good cause appearing on May 15,
17   2012, the Information in the above entitled case is dismissed with prejudice, the bond is exonerated
18   and, if held by U.S. Pretrial Services, Defendant’s passport is to be released to Defendant.
19          IT IS SO ORDERED.
20          Dated:    10/18/12    .
21
22                                                             ____________________________________
                                                               HON. CATHY ANN BENCIVENGO
23                                                             United States District Judge
24
25
26
27
28


                                                         -1-                                          CR
